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     JAMES SHAYLER
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13
                          UNITED STATES DISTRICT COURT
14
                        CENTRAL DISTRICT OF CALIFORNIA
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     JAMES SHAYLER, an individual,          Case No.: 2:20-cv-11107-FMO-GJS
                  Plaintiff,
18                                          Hon. Fernando M. Olguin
19         v.
                                            STIPULATION TO CONFER
20   HB MAT PROPERTIES, a California        REMOTELY REGARDING
21
     limited liability company; FUSION      PRETRIAL FILINGS
     SUSHI, a business of unknown form; and
22   DOES 1-10,
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                   Defendants.
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                                        1           Case No. 2:20-cv-11107-FMO-GJS
       STIPULATION TO MEET AND CONFER REMOTELY RE PRETRIAL FILINGS
 Case 2:20-cv-11107-FMO-GJS Document 54 Filed 12/27/21 Page 2 of 3 Page ID #:1550



 1         WHEREAS, on the Court’s Scheduling and Case Management Order re:
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     Jury Trial issued on March 9, 2021 (ECF No. 17) specifies that the parties are to
 3

 4   meet and confer regarding pretrial filings in person;
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           WHEREAS, the parties are preparing to meet and confer on Wednesday,
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 7
     December 29, 2021 in accordance with the Court’s Order, and have exchanged

 8   several documents in preparation for the meeting;
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           WHEREAS, since it was first detected in Southern California within the last
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11   few weeks, the Omicron variant of COVID-19 is leading to increasing numbers of
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     illness and hospitalizations;
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           WHEREAS, counsel for Plaintiff has been experiencing difficulty

15   scheduling a court reporter for an in-person conference of counsel on December
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     29, 2021 due to the COVID-19 variant;
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18         WHEREAS, both parties agree to meet and confer remotely by video
19
     conference;
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           THEREFORE, IT IS HEREBY STIPULATED by and between the

22   parties hereto, through their respective attorneys of record, that conference of
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     counsel to discuss pretrial filings may proceed remotely by video conference.
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                                               2             Case No. 2:20-cv-11107-FMO-GJS
       STIPULATION TO MEET AND CONFER REMOTELY RE PRETRIAL FILINGS
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 1         IT IS SO STIPULATED.
 2
     Dated: December 27, 2021                THE LAW OFFICE OF HAKIMI & SHAHRIARI
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 4

 5                                    By:    /s/ Anoush Hakimi
                                             ANOUSH HAKIMI, ESQ.
 6                                           Attorney for Plaintiff James Shayler
 7
     Dated: December 27, 2021                COUNSELOR & ADVOCATE AT LAW
 8

 9
                                      By:    /s/ James S. Link
10                                           JAMES S. LINK, ESQ.
                                             Attorney for Defendant HB Mat Properties,
11
                                             a California limited liability company
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14   I, Anoush Hakimi, attest that all other signatories listed, and on whose behalf the
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     filing is submitted, concur in the filing’s content, and have authorized the filing.
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17
                                             /s/ Anoush Hakimi
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                                              Anoush Hakimi
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                                                3          Case No. 2:20-cv-11107-FMO-GJS
       STIPULATION TO MEET AND CONFER REMOTELY RE PRETRIAL FILINGS
